Case 3:20-cv-00133-JCH Document 96-3 Filed 05/19/20 Page 1 of 9

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

 

 

JAKUB MADEJ
CIVIL ACTION No. 3:20-cv-00133-JCH
Plaintiff,
Vv.
JURY TRIAL DEMANDED
YALE UNIVERSITY, MARK SCHENKER
JESSIE ROYCE HILL, MARVIN CHUN,
PETER SALOVEY BERY 72020
NOT TO BE DOCKETED SEPARATELY
Defendants.

 

NOTICE OF SUBPOENA (SECOND)

PLEASE TAKE NOTICE, under FRCP 45, that Plaintiff Jakub Madej intends to serve a
Superseding Subpoena on Patrick M. NOONAN on May 7, 2020, or as soon thereafter as service

may be effectuated.
Executed: May 7, 2020 in Las Vegas, Nevada.

Respectfully,

/s/ Jakub Madej
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Connecticut

JAKUB MADEJ
Plaintiff
V.
YALE UNIVERSITY ET AL.

 

Civil Action No, 3:20-cv-00133-JCH

 

SS OS SY YS we SY

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: PATRICK M. NOONAN

 

(Name of person to whom this subpoena is directed)

rie Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:

 

Place: Date and Time:

Alex Del Vecchio Reporting .
117 Randi Drive, Madison, CT 06443 OBOB B20 OOD

 

 

 

The deposition will be recorded by this method: _ Stenography and by video

 

 

©) Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material:

 

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 05/08/2020

CLERK OF COURT

OR
/s/ Jakub Madej

Signature of Clerk or Deputy Clerk se Altorney ’s signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Jakub Madej
65 Dwight St, New Haven CT 06511 jakub.madej@yale.edu , who issues or requests this subpoena, are:

Tel: (203) 928-8486; Facsimile: (646) 776-0066; Fax: (203) 902-0070.

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
 

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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifying Conditions as an Alternative. \n the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(c) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) /naccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

 

 

JAKUB MADE]
CIVIL ACTION No. 3:20-cv-00133-JCH
Plaintiff,
v.
JURY TRIAL DEMANDED
YALE UNIVERSITY et al.
Defendants. MAS 7, 020
TENDER OF SUBPOENA FEES

FOR THE EXCLUSIVE USE OF: Patrick M. Noonan

This is to tender the fees for your 1 day's attendance and the mileage for your testimony

under the subpoena attached, pursuant to Federal Rule of Civil Procedure 45(b)(1).

I estimate that reasonable fees for attendance and for mileage are equal to $50 (fifty
dollars). Below you will find credit card details, which you should use to cover expenses incurred

in association with this subpoena.

 

No NN (Vis:) Expiry Date: CW

Amount: $50 (fifty dollars)

 

If you are unable to access the funds using the card details above, a paper check will be

mailed to you. You may also request an online transfer directly to your bank account.
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Don’t hesitate to contact me at (203) 928-8486 if you have any questions.

Dated: May 7, 2020 in Las Vegas, Nevada.

Respectfully submitted,

Jakub Madej

65 Dwight St

New Haven, CT 06511
Telephone: (203) 928-8486
Facsimile: (646) 776-0066

Fax: (203) 902-0070
Email: j.madej @lawsheet.com
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sy UNITED STATES
Bau POSTAL SERVICE

 

May 4, 2020
Dear Jakub Madej:

The following is in response to your request for proof of delivery on your item with the tracking number:
7019 2280 0000 6864 9987.

Status: Delivered, Left with Individual

Status Date / Time: May 3, 2020, 10:57 am

Location: MADISON, CT 06443

Postal Product: First-Class Mail®

Extra Services: Certified Mail Restricted Delivery
Return Receipt Electronic

Recipient Name: PATRICK M NOONAN

Shipment Details
Weight: 4.00z

Destination Delivery Address

Street Address: 137 OVERSHORES W
City, State ZIP Code: MADISON, CT 06443-2834

Recipient Signature

 

Signature of Recipient: Yi) Pay
Ignature O ecipient: VY Ojo 24

137 OVERSHORES W
MADISON, CT 06443

Address of Recipient:

 

 

 

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.

Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,

United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
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FedEx.

Dear Customer,

The following is the proof-of-delivery for tracking number: 770358246029

Delivery Information:

Status:

Signed for by:
Service type:
Special Handling:

Shipping Information:

Tracking number:

Recipient:

Patrick M. Noonan,

137 OVERSHORES W
MADISON, CT, US, 06443

Delivered
P.NOONAN
FedEx Express Saver

Deliver Weekday;
Residential Delivery;
Direct Signature Required

770358246029

Delivered To:
Delivery Location:

Delivery date:

Ship Date:

Weight:

Shipper:

Jakub Madej,

5241 Olive Tree Ct
Bakersfield, CA, US, 93308

May 08, 2020

Residence

137 OVERSHORES W
MADISON, CT, 06443

May 5, 2020 16:45

Apr 30, 2020

 
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May 7, 2020
weneern — VIA CERTIFIED MAIL AND FAX
J J. J Patrick M. Noonan
65 DWIGHT ST, APT All
NEW HAVEN, CT 06511 Re: Superseding Subpoena in case Madgj v. Yale Univ. et al, Case

203 928 8486 TEL No. 3:20-cv-00133-JCH

646 776 0066
Dear Mr. Noonan,
203 902 0070 FAX

The attached subpoena supersedes the subpoena served on
hee you via FedEx on May 5, 2020, and by USPS Registered Mail on
erciseas May 3, 2020. The subpoena dated May 4, 2020 is hereby null and
NEW HAVEN, CT 06511

void. You need not take any action in connection with that

J.MADEJ @LAWSHEET.COM subpoena.

I attach the tender of witness fees in the amount of $50.

Please contact me if you have trouble accessing the funds.

Sincerely,

Johto Made

Jakub Madej

CC: Patrick M. Noonan, Esq. (via email and first-class mail)
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CERTIFICATE OF SERVICE

I declare under penalty of perjury that, on May 7, 2020, I served the foregoing Notice of

Subpoena (Second) by fax and first-class mail on:

Patrick M. Noonan, Esq.
DONAHUE, DURHAM & NOONAN PC
741 Boston Post Road, Suite 306
Guilford, CT 06437

Telephone: (203) 458-9168

Fax: (203) 458-4424

ee

Jakub Madej
Plaintiff
